Case: 4:24-cv-00339-MTS         Doc. #: 21    Filed: 01/15/25   Page: 1 of 2 PageID #: 576




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

RICHARD PROVINCE, individually and            )
on behalf of all others similarly situated,   )
                                              )
            Plaintiff,                        )
                                              )
      vs.                                     )          Case No. 4:24-cv-00339-MTS
                                              )
TARGET CORPORATION, et al.,                   )
                                              )
            Defendant.                        )

                            MEMORANDUM AND ORDER

       This matter is before the Court on Defendant’s Motion to Dismiss. Doc. [17].

The Court has reviewed Plaintiff’s First Amended Complaint in its entirety as well as the

complete briefing on this Motion. Largely for the reasons explained by this Court in

Newport v. CVS Pharmacy, Inc., 4:24-cv-0252-HEA, 2024 WL 4836072 (E.D. Mo. Nov.

20, 2024) (Autrey, J.), and the United States District Court for the District of Minnesota

in Stephens v. Target Corp., 694 F. Supp. 3d 1136 (D. Minn. 2023) (Schiltz, C.J.), this

Court will deny Defendant’s Motion. The Court, however, will dismiss Count Two and

Count Three of Plaintiff’s First Amended Complaint based on Plaintiff’s withdrawal of

those counts. See Doc. [18] at 15 (“Plaintiff hereby voluntarily withdraws his Counts

Two and Three”); see also Doc. [19] at 1 n.1 (Defendant Target Corporation noting

Plaintiff’s withdrawal).    Count One and Count Four of Plaintiff’s First Amended

Complaint will remain. Defendant Target Corporation shall have the prescribed time to

file its responsive pleading.
Case: 4:24-cv-00339-MTS       Doc. #: 21      Filed: 01/15/25   Page: 2 of 2 PageID #: 577




       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss Plaintiff’s First

Amended Complaint, Doc. [17], is DENIED.

       IT IS FURTHER ORDERED that Count Two and Count Three in Plaintiff’s

First Amended Complaint, Doc. [15], are DISMISSED without prejudice.

       IT IS FINALLY ORDERED that Plaintiff shall have through Wednesday,

February 05, 2025, to file proof of service of the Doe Defendants. See Fed. R. Civ. P.

4(m). Failure to do so will result in the dismissal of this action without prejudice against

those Defendants. Id.

       Dated this 15th day of January 2025.



                                           MATTHEW T. SCHELP
                                           UNITED STATES DISTRICT JUDGE




                                           -2-
